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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                   v.                            :       Case No. 21-cr-203 (JDB)
                                                 :
ALEXANDER SHEPPARD,                              :
              Defendant.                         :


                        JOINT MOTION TO CONTINUE STATUS HEARING

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Alexander Sheppard, respectfully move this

Honorable Court to continue the status hearing currently scheduled for June 1, 2021, to a date in

approximately forty-five to sixty days, with time excluded under the Speedy Trial Act in the

interests of justice.

        In support of this motion, the parties submit that:

           1.      The government’s review of the evidence in the case is ongoing.

           2.      The government expects substantial discovery to be made available to the defense

shortly.

           3.      The parties wish to engage in plea discussions.

           4.      The Pretrial Services Agency report filed on May 27, 2021, recommends no change

in conditions and reports no violations of the defendant’s conditions of release.

           5.      A continuance of approximately forty-five to sixty days should allow discovery to

be produced and plea discussions to occur.

           6.      The parties are available for a status hearing the week of July 19, 2021.

           7.      The parties agree that the interests of justice will be served by excluding time and

outweigh the defendant’s and the public’s interest in a speedy trial.
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       WHEREFORE, the parties respectfully ask this Court to continue the status hearing

currently scheduled for June 1, 2021, to a date the week of July 19, 2021.



                                                    Respectfully submitted,

                                                    CHANNING D. PHILLIPS
                                                    ACTING UNITED STATES ATTORNEY

                                             By:    /s/ Mary L. Dohrmann
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